                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 RICKYE PACK,                                       )
                                                    )
                Petitioner,                         )
                                                    )
 v.                                                 )   Nos.    4:06-CR-8-CLC-WBC-6
                                                    )           4:16-CV-82-CLC
 UNITED STATES OF AMERICA,                          )
                                                    )
                Respondent.                         )


                                   MEMORANDUM & ORDER

        On July 11, 2016, Petitioner filed a motion to vacate, set aside, or correct his sentence

 pursuant to 28 U.S.C. § 2255 [Docs. 506, 508]. The petition challenges the propriety of his

 career offender designation under Section 4B1.1 of the United States Sentencing Guidelines in

 light of the Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015) [Id.].

 The request implicitly relies on Pawlak v. United States—in which the Sixth Circuit cited

 Johnson’s invalidation of the Armed Career Criminal Act’s (“ACCA”) residual clause as the

 basis for invalidating Section 4B1.2(a)(2)’s parallel provision, 822 F.3d 902, 911 (6th Cir. 2016)

 [Id. (suggesting his Tennessee aggravated assault conviction is no longer a crime of violence)].

        On August 12, 2016, the United States responded with the suggestion that Petitioner’s

 entitlement to collateral relief depends on whether or not Johnson’s impact on the Guidelines has

 been made retroactively applicable to cases raised in the context of collateral review [Doc. 512 at

 2]. Noting that the Supreme Court has agreed to address this very issue next term in Beckles v.

 United States, No. 15-8544, 2016 WL 1029080 (U.S. June 27, 2016), the United States requests

 that the Court stay its resolution of the instant petition pending that decision [Id. at 2–3].




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        In a recent published opinion, the Sixth Circuit recognized that “it is not clear whether to

 treat Pawlak as a new rule that the Supreme Court has not yet made retroactive [to cases on

 collateral review] or as a rule dictated by Johnson that the Supreme Court has made retroactive.”

 In re Embry, No. 16-5447, 2016 WL 4056056, at *1 (6th Cir. July 29, 2016). While district

 courts are generally responsible for deciding, in the first instance, whether “Pawlak is a new rule

 or not,” Id. at *4, multiple Sixth Circuit opinions have endorsed holding petitions similar to the

 instant one “in abeyance pending the Supreme Court’s decision in Beckles,” Id. at *4; see also In

 re Patrick, No. 16-5353, 2016 WL 4254929, at *4 (6th Cir. Aug. 12, 2016). The justification for

 doing so is that, “[a]fter . . . [Beckles], the district courts will be well positioned to handle

 [Johnson-based challenges to the Guidelines] fairly and efficiently.” In re Embry, 2016 WL

 4056056, at *4. The propriety of such a stay is further reinforced by the fact that at least two

 panels from the Sixth Circuit have adopted contrasting predictions for what the Beckles decision

 will hold. Compare Id. at *4 (“If pressed to decide the question now, we would lean in favor of

 saying that Pawlak . . . . rests on a new rule of constitutional law that the Supreme Court has not

 recognized, much less made retroactive on collateral review.”), with In re Patrick, 2016 WL

 4254929, at *3 (“The Supreme Court’s rationale in Welch for finding Johnson retroactive [in the

 ACCA context] applies equally to the Guidelines.”).

        For the reasons discussed, the Court agrees that issuance of a stay is appropriate under the

 circumstances. Accordingly, the United States’ request [Doc. 512] is GRANTED and the action

 [E.D. Tenn. Case No. 4:16-CV-82-CLC] is STAYED pending the Supreme Court’s decision in

 Beckles. The parties are DIRECTED to file a joint status report within thirty (30) days of that

 decision.




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      SO ORDERED.

       ENTER:



                                            /s/
                                            CURTIS L. COLLIER
                                            UNITED STATES DISTRICT JUDGE




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